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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA               )
                                       )
         v.                            )      Criminal No. 18-292
                                       )
ROBERT BOWERS                          )




       MOTION TO STRIKE THE DEATH PENALTY ON THE
       GROUNDS THE FEDERAL DEATH PENALTY ACT IS
       UNCONSTITUTIONAL UNDER THE SUPREME COURT’S
       DECISION IN RING V. ARIZONA AND THE FIFTH AND EIGHTH
       AMENDMENTS




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                               AMENDMENTS

      The defendant, Robert Bowers, through counsel, respectfully moves the Court to

find the Federal Death Penalty Act (“FDPA”) unconstitutional pursuant to the United

States Supreme Court decision in Ring v. Arizona, 536 U.S. 584 (2002), and the Fifth,

Sixth and Eighth Amendments to the United States Constitution.1

      Summary of Argument. The Supreme Court’s Ring decision has rendered the

Federal Death Penalty Act unconstitutional, as there is no legislatively approved process

for alleging aggravating factors that comports with the Constitution. The Act may not be

saved by a judicial “construction” that creates a new criminal offense whose elements

and intertwined procedures have neither been considered, nor enacted into law, by

Congress. Even if the FDPA can be rendered constitutional by a finding by the grand jury

of gateway and statutory aggravating factors, the “Special Findings” in the indictment

should be stricken and the death notice should be dismissed because the government has

not obtained an indictment consistent with the requirements of the Fifth Amendment.


      1
         This is one of three separate Motions challenging the FDPA and the
constitutionality of the death penalty being filed by Mr. Bowers.
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       Background. On January 29, 2019, a federal grand jury charged Robert Bowers

by superseding indictment with fifty-one counts, all which stem from a shooting at the

Tree of Life Synagogue on October 27, 2019. (ECF No. 44.) The Superseding Indictment

lists ten “Special Findings” with respect to Mr. Bowers – the age qualification, all four

“intent” factors from 18 U.S.C. § 3591, and five of the statutory aggravating factors

found in 18 U.S.C. § 3592(c).2

       The Notice of Intent essentially tracks the allegations of the Special Findings in

the superseding indictment regarding the age qualification, the intent factors and the

statutory aggravating factors, but adds five non-statutory aggravating factors that were

not included in the Special Findings. (ECF No. 86.) 3


                                          ARGUMENT

I.     The Supreme Court’s decision in Ring has rendered the FDPA
       unconstitutional, and the Act may not be saved by a judicial construction that
       creates a new criminal offense whose elements and procedures have neither
       been considered, nor enacted into law, by Congress.

       In enacting the FDPA in 1994, and the predecessor ADDA scheme in 1988,

Congress granted exclusive statutory authority to allege aggravating factors to the

prosecution. See 18 U.S.C. § 3591 et seq. If that aspect of the FDPA is not operative, the



       2
        A special finding regarding “vulnerable victim” is included twice, one alleging
vulnerability due to old age, the other alleging vulnerability due to infirmity.
       3
         The government has not provided any information indicating that the grand
jurors were advised of the consequences of the return of the Special Findings, or that they
were instructed to weigh the aggravating factors to determine if a death sentence was
justified.

                                             2
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statute lacks any congressionally approved method of alleging aggravating factors. And

that is exactly the case. In the wake of Ring v. Arizona, 536 U.S. 584 (2002), the FDPA4

lacks any legislatively selected method of initiating a capital prosecution. While the

Constitution requires that the elements of capital murder be presented to a grand jury and

charged in an indictment, Congress, in passing the FDPA, chose another route. As a

result, it is up to Congress to make the necessary corrections. Thus, the Federal Death

Penalty Act is presently unconstitutional, and this Court should resist and reject the

government’s efforts to invent a “Ring fix.”

       In Ring, the Court held that, with respect to the framework of Arizona’s death

penalty statute, the “enumerated aggravating factors operate as ‘the functional equivalent

of an element of a greater offense’. . . .” 536 U.S. at 585 (quoting Apprendi v. New

Jersey, 530 U.S. 466, 494 n. 19 (2000)). That holding, coupled with the earlier holding in

Jones v. United States, 526 U.S. 227, 251-52 (1999), that all elements of a federal offense

“must be charged in the indictment, submitted to a jury, and proven by the Government

beyond a reasonable,” in effect rendered the FDPA unconstitutional. See Harris v. United

States, 536 U.S. 545 (2002) (“[T]hose facts setting the outer limits of a sentence and of

the judicial power to impose it are elements of the crime for constitutional analysis.”).

This is because under Ring, the FDPA’s aggravating factors necessary for a death



       4
         For purposes of this argument, the abbreviation FDPA is utilized to refer to both
the 1988 and 1994 federal death penalty schemes. Although the procedural provisions of
the Anti-Drug Abuse Act (ADAA), Pub.L. 100-690, Sec. 7001, 102 Stat. 4181 (Nov. 18,
1988), have been repealed, both statutes are relevant to demonstrate Congressional intent
that the prosecution has exclusive authority concerning aggravating factors.

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sentence – like the factors at issue in the Arizona statute – are elements of the capital

offense and must be charged in the indictment and proven to a jury beyond a reasonable

doubt. Under the FDPA, and for the purposes of this discussion, the “elements” of capital

murder are at least murder plus intent plus one or more statutory aggravating factors.

       The FDPA and Arizona capital schemes are similar in that each establishes death

as a possible sentence in the statute defining the offense, and then sets forth the further

fact-finding and procedural steps necessary to establish a particular defendant’s, and the

set of relevant facts’, eligibility for a capital sentence. As in the Arizona system

addressed and invalidated in Ring, under the FDPA, the fact that a jury returns a guilty

verdict in a case of capital murder does not, without more, allow for imposition of a death

sentence. It is the further fact-finding, and intertwined procedures, that determine, in the

post-Ring era, what constitute the new elements of “federal capital murder,” a crime that

presently exists only by judicial fiat.

       Later in this motion, Mr. Bowers argues that the elements of capital murder

include decisions reached by the jury right up to and including the point where it makes a

finding of fact that the aggravating circumstances outweigh the mitigating circumstances.

In truth, the final “selection” or ultimate sentencing decision is not made until the jury

reaches the final decision-point of determining, factually, “whether all the aggravating

factors found to exist sufficiently outweigh all the mitigating factors found to exist to

justify a sentence of death . . . .” 18 U.S.C. § 3593(e) (emphasis added). A simple

“outweighing” is insufficient. Obviously, there are enormous practical difficulties in

devising a system where a grand jury can consider and weigh both aggravating and

                                              4
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mitigating factors. That is precisely why the legislature needs to amend this statute, not

the courts or the Department of Justice.

       The FDPA, of course, nowhere provides for presentation of aggravating factors to

a grand jury. But neither is the statute silent on the issue of how such factors are to be

alleged. On that score, the FDPA explicitly reserves the selection and notice of

aggravating factors to the exclusive discretion of the prosecution. The government cannot

rewrite the FDPA to its own liking; instead the FDPA must be declared unconstitutional

pending further action by Congress.

       In a closely analogous circumstance, the Supreme Court, in United States

v. Jackson, 390 U.S. 570 (1968), condemned the very practice now at issue, i.e., where a

district court was asked to engage in the judicial amendment of a capital statute in order

to preserve its constitutionality. In that case, the court declined to do so. As a result, the

Supreme Court’s admonition in Jackson is equally powerful and appropriate here:

       It is unnecessary to decide here whether this conclusion [the Government’s
       proposed “fix” of the death-penalty aspects of the federal kidnapping statute]
       would follow from the statutory scheme the Government envisions, for it is
       not the scheme that Congress enacted.

390 U.S. at 573.

II.    Aggravating factors necessary to a capital verdict are essential elements of the
       capital offense and must be pleaded in the indictment and proved to a jury
       beyond a reasonable doubt.

       In Ring, which overruled Walton v. Arizona, 497 U.S. 639 (1990), and in subsequent

cases, the Supreme Court established beyond dispute that aggravating factors necessary to

imposition of the death penalty under the FDPA must be charged in the indictment and

proved to the satisfaction of a jury beyond a reasonable doubt. As noted above, the Supreme
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Court explained in both Ring and Harris that facts which increase the maximum penalty

faced by the defendant create new, different, and “greater offense[s].” In Harris, 536 U.S.

at 555-66, the Court noted repeatedly that any “fact” which increases the maximum

possible penalty beyond that authorized by the findings implicit in the jury’s verdict of

guilt is an element of an offense:

             [R]ead together, McMillan [v. Pennsylvania, 477 U.S. 79 (1986)]
             and Apprendi mean that those facts setting the outer limits of a
             sentence and of the judicial power to impose it are elements of the
             crime for constitutional analysis.

 Harris, 536 U.S. at 567. Concurring in Ring, Justice Scalia observed:

             [All] facts essential to imposition of the level of punishment that
             the defendant receives – whether the statute calls them elements
             of the offense, sentencing factors, or Mary Jane – must be found
             by the jury beyond a reasonable doubt.

 Ring, 436 U.S. at 610 (Scalia, J., concurring.)

       Similarly, in Apprendi, the Court observed that “[t]he judge’s role in sentencing is

constrained at its outer limits by the facts alleged in the indictment and found by the jury.

Put simply, facts that expose a defendant to a punishment greater than that otherwise

legally prescribed [are] by definition ‘elements’ of a separate legal offense.” 530 U.S. at

483, n. 10; see Harris, 536 U.S. at 560 (stating that the principle “by which history

determined what facts were elements…defined elements as ‘fact[s] legally essential to

the punishment to be inflicted’”) (quoting United States v. Reese, 92 U.S. 214, 232

(1876) (Clifford, J., dissenting)).

       In Jones, the Court had presaged what has since occurred by holding that all

elements of a federal offense “must be charged in the indictment, submitted to a jury, and

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proven by the Government beyond a reasonable doubt.” Jones, 526 U.S. at 227; see

United States v. Cotton, 535 U.S. 625 (2002) (in federal prosecutions, any fact increasing

the maximum punishment “must also be charged in the indictment”).

       Thus, Ring and Harris have established beyond dispute that the facts alleged

in the “Special Findings” section of the indictment in this case constitute elements of an

offense because they “are facts that expose [this] defendant to a punishment greater than

that otherwise legally prescribed… ,” i.e., the death penalty. That conclusion is further

confirmed by the Supreme Court’s subsequent decisions in Blakely and Booker, in which

first state and then federal sentencing guidelines factors, respectively, were held to

constitute the functional equivalent of elements that required proof to a jury beyond a

reasonable doubt. Blakely v. Washington, 542 U.S. 296 at 303 (2004); United States v.

Booker, 543 U.S. 220 at 244 (2005).

       Capital cases since Ring have continued in the same vein. For example, in

Sattazahn v. Pennsylvania, 537 U.S. 101 (2003), the Court considered whether double

jeopardy was a bar to the second prosecution of a capital case when the Commonwealth

of Pennsylvania again sought (and received) a sentence of death after a divided jury at the

first trial had spared the defendant’s life and the defendant subsequently succeeded in

having the underlying conviction set aside on appeal. The Court ruled 5-4 that double

jeopardy did not bar a second opportunity to seek a death sentence. Justice Scalia, joined

by the Chief Justice and Justice Thomas, discussed the implications of the Court’s

decision in Ring:

            [I]n Ring v. Arizona, 536 U.S. 584 (2002), we held that aggravating
            circumstances that make a defendant eligible for the death penalty
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            “operate as ‘the functional equivalent of an element of a greater
            offense.’”… That is to say, for purposes of the Sixth Amendment’s jury-
            trial guarantee, the underlying offense of “murder” is a distinct, lesser
            included offense of “murder plus one or more aggravating
            circumstances”: Whereas the former exposes a defendant to a maximum
            penalty of life imprisonment, the latter increases the maximum
            permissible sentence to death.

Sattazahn, 537 U.S. at 111 (internal citations omitted) (emphasis in original).

       Most recently, the Supreme Court reaffirmed Ring’s rule in Hurst v. Florida, 136

S.Ct. 616 (2016). In Hurst, the Supreme Court held that Florida’s statutory scheme,

which authorized a judge to determine whether any aggravating circumstances existed

and whether they were “sufficient” to justify death, violated the Sixth Amendment. Thus,

the Florida scheme was unconstitutional for the same reason as the Arizona scheme in

Ring: it allowed a judge, rather than jury, to make “the critical findings necessary to

impose the death penalty.” Hurst at 622. The fact that Florida, unlike Arizona, employed

a jury to make an “advisory recommendation” was irrelevant when the judge retained the

ultimate fact-finding authority under Florida’s statutory scheme. Hurst at 622. Notably,

the Hurst decision made no distinction between “statutory” and “non-statutory”

aggravating factors.

       As with both the Arizona and Florida schemes, under the FDPA, a jury’s verdict

finding a defendant guilty of murder cannot support a sentence of death without

additional fact finding. It thus follows that the aggravating factors the government has

alleged by indictment in this case are viewed by the government, and for purposes of

statutory and constitutional analysis, as elements of a greater offense that requires the

proof of those elements before a death sentence can be imposed.

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              A.    The FDPA does not provide for presentation of aggravating
                    factors to a grand jury (and thereby including them in an
                    indictment) but instead vests authority to identify aggravating
                    factors exclusively with the prosecutor.

       With respect to federal capital offenses prosecuted in federal court, Ring and the

Fifth Amendment’s indictment clause require that aggravating factors necessary to a

death sentence be presented to a grand jury and included in the indictment.5 However, the

FDPA neither permits nor contemplates affording the grand jury any role in determining

which aggravating factors are to be alleged in a federal capital prosecution. Pursuant to

the FDPA, a sentence of death may not be sought unless, as set forth in the statute itself,

“the attorney for the Government believes that the circumstances of the offense are such

that a sentence of death is justified…” 18 U.S.C. § 3593(a). If the “attorney for the

government” believes death is warranted, the next step in the legislatively-selected

process is for that attorney to serve and file a notice, signed by the attorney for the

Government, stating, inter alia, that “the Government believes that the circumstances of

the offense are such that, if the defendant is convicted, a sentence of death is

justified…and that the Government will seek a sentence of death[.]” 18 U.S.C. §

3593(a)(1).

       Although not in and of themselves aggravating factors, the pre-Ring FDPA also

required proof – and allegation in the notice by government attorneys – of one or more of




       5
         The Fifth Amendment provides in pertinent part that “[n]o person shall be held
to answer for a capital, or otherwise infamous crime, unless on presentment or indictment
of a Grand Jury,” including those accused of felony offenses. See Stirone v. United States,
361 U.S. 212, 215 (1960) (“[T]he crime charged here is a felony and the Fifth Amendment
requires that prosecution be begun by indictment.”).

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four “gateway” state-of-mind factors. 18 U.S.C. § 3591(2). The notice, in addition, is

required to set forth the aggravating factors, both statutory and non-statutory, it proposes

to prove if the defendant is convicted, which may include victim-impact evidence. 18

U.S.C. § 3593(a).6 Consequently, the unambiguous language of the FDPA establishes

that Congress, rightly or wrongly, elected to enact a scheme where the decision to set the

machinery of death in motion would be reserved to the government’s attorneys and no

one else – not grand juries, not the court, and not any other individual or entity.

Nonetheless, the government seeks to establish in this case a substitute method for

introducing aggravating factors now that Ring has rendered the mechanism prescribed by

Congress constitutionally invalid. Fidelity to the fundamental principle of separation of

powers, embedded deeply in the constitutional form of government our nation has

adopted, and detailed below, is even more important when applied to the government’s

efforts to execute one of its citizens, thereby imposing “the most irremediable and

unfathomable of penalties . . . .” Ford v. Wainwright, 477 U.S. 399, 411 (1986).


   B. Jackson and the separation of powers doctrine demonstrate that the FDPA
      cannot be amended by the prosecutor or the courts to permit presentation of
      aggravating factors to a grand jury because it is for the legislature to define
      crimes and punishment, and presentation of aggravating factors to a grand
      jury is contrary to Congress’ unambiguous intent, as expressed in the FDPA.

       This is not an instance in which Congressional silence permits flexibility in

rescuing an otherwise unconstitutional statute from invalidation. Indeed, given the

express and unambiguous language and structure of the FDPA, if, prior to Ring, a



       6
           The ADAA scheme was similar. See 21 U.S.C. § 848(h) (Repealed).
                                          10
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defendant had argued that the aggravating factors could not be applied unless they were

presented to and charged by a grand jury in the indictment, the government’s response

undoubtedly, and correctly, would have been that the statute does not ascribe any such

role to the grand jury, and that the statute plainly reserves that authority solely to the

prosecutor.

           1. Congress, not the courts or prosecutors, is vested with legislative
              authority to define federal criminal offenses and the punishment for
              such conduct.

       For centuries of federal criminal jurisprudence, since at least as early as United

States v. Hudson, 11 U.S. 32 (1812), it has been clear that the Constitution affords

Congress the sole power to define and create all offenses against the United States and

their punishments. See United States v. Wiltberger, 18 U.S. 76, 93 (1820), (“It is the

legislature, not the court, which is to define a crime and ordain its punishment.”);

Hudson, 11 U.S. at 34 (“[T]he legislative authority of the Union must first make an act a

crime, fix a punishment to it, and declare the Court that shall have jurisdiction of the

offense”; and “[t]he power of punishment is vested in the legislative, not in the judicial

department.”). See also Bousley v. United States, 523 U.S. 614, 620-21 (1998) (“Under

our federal system it is only Congress, and not the courts, which can make conduct

criminal.”); Staples v. United States, 511 U.S. 600, 604 (1994) (“The definition of the

elements of a criminal offense is entrusted to the legislature, particularly in the case of

federal crimes which are solely creatures of statute.”) (citation omitted).

       As a result, “[o]ne may be subjected to punishment for crime in the federal courts

only for the commission or omission of an act defined by statute, or by regulation having

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legislative authority, and then only if punishment is authorized by Congress.” Viereck v.

United States, 318 U.S. 236, 241 (1943) (citations omitted); see also United States v.

Lanier, 520 U.S. 259, 267-68 n. 6 (1997) (“[F]ederal crimes are defined by Congress, not

the courts. ”); Logan v. United States, 144 U.S. 263, 283 (1982) (“[A]lthough the

constitution contains no grant, general or specific, to congress of the power to provide

for the punishment of crimes, [with certain exceptions] . . . no one doubts the power of

congress to provide for the punishment of all crimes and offenses against the United

States.”).

       The Supreme Court applied these principles in Bouie v. City of Columbia, 387

U.S. 347 (1964). In Bouie, the state courts of South Carolina, in an obvious effort to

prosecute civil rights protesters, had construed an existing statute in a manner that created

a new crime. The Supreme Court intervened and set aside the statute as interpreted for

conflicting with Wiltberger, 18 U.S. 76 (1820). See Crandon v. United States, 494 U.S.

152, 158 (1990) (“Legislatures, not courts, define criminal liability.”).

             2. Jackson provides a direct and “all fours” analogy and compels
                invalidation of the FDPA.

   The Supreme Court’s decision in United States v. Jackson, 390 U.S. 570 (1968),

provides precedent directly and specifically applicable to capital statutes, and to improper

attempts to cure them by judicial fiat rather than by legislative action. In Jackson, the

Court held that when a particular federal sentencing statute is unconstitutional, a court

lacks authority to devise its own procedure, unauthorized by statute or rule, simply

because the procedure, if properly enacted by Congress, would pass constitutional


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muster. In Jackson, the Court considered the federal kidnapping statute, which contained

a mandatory death penalty when a jury recommended it – thereby making the death

penalty possible only for those defendants who exercised their right to trial by jury.

       In an effort to salvage the death penalty provision, the government proposed a

number of alternative “constructions” of the statute and cited ad hoc procedures

developed by other district courts as “cures” for the constitutional problems. The Court,

after finding the statute unconstitutional, rejected the government’s proposed remedy of

directing the trial court to convene a special penalty phase jury after a guilty plea, as well

as every other approach proposed by the government, because those proposals

represented judicial, rather than legislative action. Id. at 572–81.7

       The Jackson Court, in analyzing and explicating the limits of judicial authority to

construe legislation, even when such construction would “save” the legislation from a

declaration of unconstitutionality, pointed out that the kidnapping statute “sets forth no

procedure for imposing the death penalty upon a defendant who waives the right to jury

trial or one who pleads guilty.” Id. at 571. The Court declined to read into the statute

congressional authority for the courts to develop such a procedure. The Jackson Court

was concerned principally with overreaching its authority by imposing the alternate



 7
   For example, the government proposed a “construction” of the statute under which
 “even if the trial judge accepts a guilty plea or approves a jury waiver, the judge
 remains free . . . to convene a special jury for the limited purpose of deciding whether
 to recommend the death penalty.” Id. at 572. The government also suggested that the
 court might save the statute by reading it to make imposition of the death penalty
 discretionary on the part of the sentencing judge. Id. at 575. The court rejected these
 proposed reconstructions and adhered, instead, to the plain language of the statute as
 the best evidence of Congress’ intent.
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sentencing scheme. According to the Court, “it would hardly be the province of the courts

to fashion [such] a remedy” absent “the slightest indication that Congress contemplated

any such scheme.” Id. at 578-79.

       Applying Jackson’s analysis to this case, it is manifest that once the provision

allocating to the prosecutor the power to charge aggravating factors is declared

unconstitutional, the FDPA “sets forth no procedure” for alleging aggravating factors. As

the Jackson opinion explained, “[t]o accept the Government’s suggestion that the jury’s

sentencing role be treated as merely advisory would return to the judge the ultimate duty

that Congress deliberately placed in other hands.” Id. at 576.

       Here, as in Jackson, Congress has “deliberately placed in [the prosecutor’s]

hands” the responsibility for alleging aggravating factors under the FDPA. Consequently,

in this case, “construing” the FDPA to allow the grand jury to assume that responsibility

would violate the FDPA and contravene Congressional intent without “the slightest

indication that Congress contemplated” according the grand jury such a role in the federal

capital decision-making process. Presented with the option, Congress, considering the

change of law from Walton to Ring, might very well enact a comprehensive death penalty

scheme that allocated a role to the grand jury. Congress might also choose to enact a

wholly new and different scheme, one which fully defined the new offense of “capital

murder,” specified its elements, and set forth comprehensive procedures for trial of those

offenses.8


 8
  Indeed, the dangers of judicial legislation are patently evident from the divergent
 attempts, following Ring, to salvage the FDPA despite the obvious defect in the
 method of alleging aggravating factors. For example, in United States v. Jackson, the
                                             14
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       It is understandable that the courts, or prosecutors, would feel compelled to simply

fix what is broken. Jackson, however, proscribes a court from implementing what

Congress might do, or what the prosecutor proposes as a “fix” for a constitutionally

deficient statute. Instead, Jackson, requires that courts, under such circumstances,

invalidate, and not legislate. Id. at 573.

       Also, the Court in Jackson recognized that the government’s proposal “would be

fraught with the gravest difficulties.” Id. at 579. As the Court explained, “it is one thing

to fill a minor gap in a statute,” but “quite another thing to create from whole cloth a

complex and completely novel procedure and thrust it upon unwilling defendants for the

sole purpose of rescuing a statute from a charge of unconstitutionality.” Id. at 580; see

Blount v. Rizzi, 400 U.S. 410, 419 (1971) (statute that permitted the Postmaster General

to determine that material was obscene struck down by the Court which, in the process of

rejecting the government’s suggestion that Congress’s plain language could be

“construed to allow a judge to make that determination instead of the Postmaster General,

explained that “it is for Congress, not this Court, to rewrite the statute”).

       The very same type of judicial and prosecutorial restructuring of a statute to

conform to constitutional imperatives was rejected by the Court in United States v.

Booker, 543 U.S. 220 (2005). In the course of invalidating the mandatory nature of the

federal sentencing guidelines because they permitted a judge to find, by a preponderance



 court held that the presentation of but one statutory aggravating factor to the grand jury
 (and inclusion in the indictment) was sufficient to permit the government to seek death
 on the basis of several statutory aggravating factors not so included. United States v.
 Jackson, 327 F.3d 273, 284-87 (4th Cir. 2003).
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of the evidence, facts necessary to an enhanced punishment, the Court did not create a

hybrid system, inconsistent with the Sentencing Reform Act (“SRA”), under which those

sentencing factors would be incorporated in indictments and presented to a jury. Rather, a

separate majority in Booker (in what has generally been denominated the “remedy

opinion,” Booker, 543 U.S. at 245-46) severed the offending section – that which made

the guidelines mandatory – but retained the essential character of the remainder of the

SRA.

       Indeed, in Blakely v. Washington, Booker’s predecessor, Justice Breyer, who

wrote the remedial opinion in Booker, recognized quite clearly the practical and due

process concerns attendant to charging sentencing enhancement facts and submitting

them to a jury. Blakely, 542 U.S. at 334-5 (Breyer, J., dissenting). Justice Breyer’s

admonition about the practical implications of presenting sentencing factors to a jury

absent any legislative or procedural framework is mirrored by the issues raised by the

submission of aggravating factors to a grand jury in the similarly barren context of the

FDPA. For example, there are questions regarding which aggravating factors must be

included in the indictment, whether the defendant must plead to those factors, whether

the lessened evidentiary standard of the FDPA remains applicable to some or all

aggravating factors, and, if so, to the presentation of mitigating evidence, and any

procedural changes in the two phases of the trial.

       Here, the government’s position, by implication, is that prosecutors can fashion

their own remedy independent of both Congress’ intent and clear and limiting legislative

language. This view, however, mirrors the position taken by the government, and rejected

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by the Supreme Court in Booker:

            Severing the requirement that judges, not juries, apply the
            Guidelines would require courts to make the legal and policy
            decisions necessary to resolve all of those questions. There is no
            indication that Congress delegated that role to the courts. It is one
            thing to recharacterize a single factor that increases a statutory
            maximum and treat it as an element of the crime. It is quite
            another to take an entire system expressly designed to channel
            sentencing discretion and treat it as if Congress was attempting to
            rewrite the criminal code.

Booker, 543 U.S at 363.

       In Hurst v. Florida, the Supreme Court similarly rejected an attempt to “fix” a

manifestly unconstitutional sentencing scheme by ignoring the state’s law in favor of a

new judicial construction. Florida asked the Court to consider the “advisory jury” who

heard the case (and in Hurst’s case, had recommended death by a 7-5 vote) as the

functional equivalent of the aggravator finding required by Ring. See Hurst, 136 S.Ct. at

622. Rather than reimagine the jury’s role to save the sentencing scheme, the Court looked

to what the Florida statutes actually contemplated: that the findings would be made by

the judge and not the jury. Because this scheme – which the Supreme Court had previously

upheld on multiple occasions – was now unconstitutional under Ring, Hurst rejected

Florida’s attempted “fix.” See id. at 622, 623-24 (dismissing stare decisis concerns).

       Jackson is precisely on point and controls this case, and it is consistent with Hurst.

In enacting the FDPA, Congress, relying on Walton, created a scheme in which the

prosecutor was granted the exclusive authority to make the threshold determination

whether to seek the death penalty, and, once a decision was made to pursue death, which

aggravating factors to allege. Allowing the government to seek indictment of what

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Congress unambiguously defined as sentencing factors would give “to the [grand jury]

the ultimate duty that Congress deliberately placed in other hands,” i.e., those of the

government attorney – precisely the kind of end-run that Jackson forbids.

       If the FDPA’s treatment of aggravating factors is unconstitutional after Ring, then

it is undeniable, under Jackson and the doctrine of Separation of Powers, that only

Congress can cure the problem, and only by enacting – should it choose to do so in light

of the changed constitutional landscape augured by Ring – a new death penalty scheme.

          3. The non-delegation doctrine provides further compelling support for
             the conclusion the FDPA’s defects cannot be cured by judicial action.

       A corollary to the Separation of Powers problems posed by the prosecution’s

proposed unilateral Ring fix for the FDPA is the non-delegation doctrine’s9 preclusion of

action by either the Executive or the Judiciary, whether separately or in tandem,

substituting either’s judgment for that of Congress in relation to prescribing the elements

and the procedures for application of the federal death penalty. As Justice Scalia stated in

his dissent in Mistretta v. United States, 488 U.S. 361 (1989):

            It is difficult to imagine a principle more essential to democratic
            Government than that upon which the doctrine of unconstitutional
            delegation is founded: Except in a few areas constitutionally committed
            to the Executive Branch, the basic policy decisions governing society
            are to be made by the Legislature.
                                          ***
            That Congress cannot delegate legislative power to the President is a
            principle universally recognized as vital to the integrity and
            maintenance of the system of Government ordained by the Constitution.


9
  “The non-delegation doctrine originated in the principle of separation of powers that
underlies our tripartite system of Government.” Mistretta v. United States, 488 U.S. 361,
371 (1989); see U.S. CONST., ART. 1, § 1.
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Id. at 415 (Scalia, J., dissenting). The majority in Mistretta ultimately found that the non-

delegation doctrine had not been violated by creation of the United States Sentencing

Commission and the guidelines it promulgated because, in constituting the Commission,

Congress had “[laid] down by legislative act an intelligible principle to which the

[Sentencing Commission] is directed to conform . . .” Id. at 372 (quoting N.W. Hampton,

Jr., & Co. v. United States, 276 U.S. 394, 409 (1928)). Nevertheless, the Court reaffirmed

the principle that “‘the integrity and maintenance of the system of Government ordained

by the Constitution mandate that Congress generally cannot delegate its legislative power

to another Branch.” Mistretta, 488 U.S. at 371-72 (quoting Field v. Clark, 143 U.S. 649,

692 (1892)).

       Thus, Mistretta involved the delegation only of authority to determine sentencing

factors within the limits of a legislatively determined “intelligible principle.” It did not

include the authority to determine the very elements of an offense, as would be the case

under a hypothetical post-Ring FDPA.10 Plainly, Congress must have the opportunity to

determine, in light of Ring, the precise elements of federal capital murder and how Ring

has affected the legislative balancing that produced the FDPA in the first place.


       10
         In Touby v. United States, 500 U.S. 160, 164 (1991), the Court upheld Congress’
 delegation to the Attorney General of the authority to temporarily classify a drug as a
 controlled substance in order to bring its use and/or distribution within reach of criminal
 prosecution. This delegation of authority was based on the advent of “designer drugs”
 which were only marginally different in chemical composition from drugs that were
 already controlled. The Court held that the intelligible Congressional principle at issue
 not only meaningfully constrained the Attorney General’s discretion to define criminal
 conduct but that, in addition, “Congress ha[d] placed multiple specific restrictions on the
 Attorney General’s discretion to define criminal conduct . .. .” Id. at 167.

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       Since Congress could not delegate to the Executive Branch the power to rewrite

the FDPA to its post-Ring liking, a fortiori the Executive Branch cannot simply assume

that power by attempting to substitute new procedures and elements for those originally

provided by Congress, but rendered constitutionally infirm by the Jones-Ring-Apprendi

trilogy.

           4. The grand jury lacks authority to issue “Special Findings.”

       In this case, the indictment contains a section labeled “Notice of Special

Findings.” (ECF No. 44, at 12-13.) Grand juries are not, however, permitted to return

anything denominated as “Special Findings.” The Federal Rules of Criminal Procedure

provide that an indictment “shall be a plain, concise and definite written statement of the

essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1). In 1979, Rule 7

was amended specifically to allow notice of criminal forfeitures to be alleged by

indictment. Nothing in the text of the Rule, and nothing in the Indictment Clause of the

Fifth Amendment, contemplates or permits a grand jury to make “Special Findings” that

serve the function of the triggering requirements of the FDPA that are now invalid in

light of Ring.

       In addition, while the Supreme Court’s decision in Schriro v. Summerlin, 542 U.S.

348, 354-55 (2004), held that, for purposes of collateral review, Ring involved issues of

procedure rather than substantive criminal law, that does not place the method of alleging

the FDPA’s aggravating factors within the purview of the government’s authority or role

in a three-branch form of government. Rather, the principles established in Jackson

continue to apply, and the express language of the statute remains controlling and

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dispositive. Consequently, the government’s attempt to rescue the FDPA via the grand

jury’s “Special Findings” is void.


   C.        Circuit Court decisions to the contrary have been wrongly decided, and
             neither a severability analysis nor the post-Apprendi drug cases, nor the
             doctrine of “constitutional avoidance” can save the FDPA.

              1. The decisions by the courts of appeal have been wrongly decided.

        While various Courts of Appeals have considered the issues presented here and

concluded that there is no constitutional or statutory impediment to presenting the

FDPA’s aggravating factors to a grand jury in order to avoid unconstitutionality under

Ring, the cursory reasoning in each case has been fatally flawed for two principal

reasons: (1) the decisions all fail to address Jackson, and/or to distinguish its clearly

applicable holding and principles; and, (2) the decisions ignore the plain language of the

FDPA with respect to whether the grand jury is authorized to allege aggravating factors.

        For example, in United States v. Brown, 441 F.3d 1330 (11th Cir. 2006), the

Eleventh Circuit not only failed to even mention Jackson, but also joined other circuits in

claiming that while “‘nothing in the FDPA requires prosecutors to charge aggravating

factors in an indictment … there is nothing in that law inhibiting such a charge.’” Id. at

1367 (quoting United States v. Robinson, 367 F.3d 278, 290 (5th Cir. 2004));11 see



        11
         In Brown, the Court also stated the defendant’s argument in a manner different
than what Mr. Bowers presents here. In Brown, according to the Court, the defendant
“argue[d] that the FDPA is facially unconstitutional [] because it does not require
[aggravating] factors to be alleged in the indictment.” 441 F.3d at 1367. Here, Mr.
Bowers states the converse: that the FDPA is unconstitutional because it requires that
aggravating factors be alleged exclusively in a manner that precludes presentation to the
grand jury.
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United States v. LeCroy, 441 F.3d 914 (11th Cir. 2006) (“[T]he major flaw in LeCroy’s

argument is that nothing in the [FDPA] forbids, or is inconsistent with, prosecutors’

taking the additional step of including the statutory aggravating factors in the indictment

and submitting same to the grand jury. Indeed, a statute will seldom expressly provide for

submitting elements of an offense to the grand jury.”); United States v. Allen, 406 F.3d

940, 949 (8th Cir. 2005) (“While it is true that the FDPA directs the government to

charge these factors in a notice of intent to seek the death penalty, nothing in the Act

precludes the government from also submitting them to the grand jury for inclusion in the

indictment.”); United States v. Barnette, 390 F.3d 775, 789 (4th Cir. 2004) (“A review of

the statute itself reveals no language that restricts the government from submitting

aggravating factors to the grand jury. Neither does the legislative history indicate any

such intent.”)12 The First Circuit’s attempt in Sampson to distinguish Jackson was

likewise flawed in that the reasoning requires ignoring the plain language of the statute

which ordains a procedure completely at odds with presentment to a grand jury. United

States v. Sampson, 486 F.3d 13 (1st Cir. 2007); see United States v. McCluskey, No. CR

10-2734 JCH, 2012 WL 13076173, at * 5 (D. NM. Sept. 14, 2012) (unpublished)

(adopting reasoning of Sampson).

       This is not an instance in which a statute simply does not “expressly provide for

submitting elements of an offense to the grand jury;” rather, the FDPA expressly and


       12
         In both Allen and Barnette, the defendant’s principal (and unsuccessful)
argument was that the indictment failed to allege an aggravating factor. Allen, 406 F.3d at
940; Barnette, 390 F.3d at 775. In both cases, the Courts found any error to be harmless,
and in Barnette the Court also held that the language of the indictment did, in fact,
adequately allege an aggravating factor. Barnette, 390 F.3d at 775.
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comprehensively provides for another, exclusive method for alleging aggravating factors.

Each of these prior decisions, seemingly by failing to recognize its existence in the first

place, fails to appreciate the gravity of this important distinction. Thus, these decisions

upholding the validity of the FDPA were wrongly decided, and this Court should,

consistent with Jackson and the clear language of the FDPA, declare the statute

unconstitutional as applied to Mr. Bowers. 13

            2. The post-Apprendi drug quantity cases do not authorize presenting the
               FDPA’s aggravating factors to a grand jury.

       The FDPA cannot find refuge in post-Apprendi cases that required drug quantity in

federal prosecutions previously deemed a sentencing factor to be determined by a judge by

a preponderance of evidence, to be pleaded in an indictment and proved to a jury beyond a

reasonable doubt. See, e.g., United States v. Cotton, 535 U.S. 625 (2002) (government

concedes that it was error not to include drug quantity in all post-Apprendi federal drug

indictments, but conviction affirmed because the defendant failed to object, and omission

was harmless error).

       The difference between Title 21’s treatment of drug quantity and the FDPA’s

handling of aggravating factors is striking and dispositive. Regarding drug quantity,

Congress enacted statutes in which the penalty ranges increase directly with the quantity

of the specified drug. For those statutes, though, Congress was silent on whether drug



       13
          Significantly, neither Allen, Robinson, Barnette, LeCroy, Brown discuss or even
cite Jackson. Thus, none of those decisions can be deemed to have considered the issue
sufficiently, or comprehensively. Contra United States v. Sampson, 486 F.3d 13 (1st Cir.
2007).

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quantities were elements of the offense or sentencing factors. Thus, requiring drug

quantities to be alleged by indictment did not alter the structure of the drug laws, or

offend Congressional intent.

       In fundamental contrast, however, Congress clearly never intended the

aggravating factors in the FDPA to constitute elements of the offense. Rather, Congress,

relying on Walton, which permitted such aggravating factors to be treated as sentencing

factors, patently described them as such, and (impermissibly) directed that they be

determined and identified in each case not by a grand jury (or any other body or

institution), but by the prosecutor alone.

       Moreover, when the Supreme Court has been required to determine whether a

statute sets forth elements-of-an-offense, as distinct from sentencing factors, it has looked

to Congressional intent. Accordingly, in Castillo v. United States, 530 U.S. 120 (2000),

the Court explained that “[t]he question before us is whether Congress intended the

statutory references . . . to define a separate crime or simply to authorize an enhanced

penalty.” 530 U.S. at 123; see Jones, 526 U.S. at 232–39. See also Almendarez-Torres v.

United States, 523 U.S. 224, 228 (1998); Harris, 536 U.S. at 582.

       In both Harris and Almendarez-Torres, the Court found the aspects at issue to be

sentencing factors; in Castillo and Jones, they were found to be elements of the offense.

In both sets of cases, the Court conducted by the same exhaustive statutory, not

constitutional, analysis, because the Constitution, though it places limits upon Congress’

ability to designate certain facts as sentencing factors, does not afford the courts authority

to recast statutes so that they fit within those limits. For example, in Harris, the Court

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comprehensively considered “the distinction the law has drawn between the elements of a

crime and factors that influence a criminal sentence.” 536 U.S. at 549. The Court

reaffirmed that the threshold question of statutory construction is whether Congress

intended relevant facts to be offense elements or sentencing factors. 536 U.S. at 551. The

Court further explained that the distinction is significant because “[l]egislatures define

crimes in terms of the facts that are their essential elements, and constitutional

guarantees attach to these facts.” 536 U.S. at 549 (emphasis added).

       Here, Congress’s intent is plain and unmistakable. Consistent with the state of the

law pre-Ring (and governed by Walton), Congress structured the FDPA so that

aggravating factors were sentencing considerations that were within the exclusive

province of the prosecutor. As a result, the government is not empowered to subvert

Congressional intent (even if ill-advised) and, in effect, create by prosecutorial fiat, a

brand new criminal statute.

            3. A severability analysis cannot save the FDPA.

       The severability cases also undercut any analogy to the drug cases discussed

above. Under the cases setting forth the severability doctrine, the critical question is

whether the statute at issue, upon removal of its unconstitutional portion, can function

independently.14 For example, in Booker, as noted above, the Supreme Court severed the

mandatory provision because that preserved the character of the SRA and Congress’s

intent in enacting it, as opposed to creating a new system inconsistent with Congressional


       14
         See, e.g., Minnesota v. Mille Lacs Band of Chippewa Indians, 526 U.S. 172
 (1999); Leavitt v. Jane, 518 U.S. 137 (1990); Alaska Airlines, Inc. v. Brock, 480 U.S.
 678 (1987).
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intent.

          The structure of the FDPA plainly provides that the government’s notice of

aggravating factors, and only that mechanism, triggers the entire operation of the FDPA.

Absent that enabling act by the prosecutor, the statute cannot function as a capital statute,

because without aggravating factors, the government cannot seek the death penalty. The

same conclusion was reached in Jackson, in which the Court found that severing the

unconstitutional death penalty provision of the kidnapping act left an otherwise fully

functional criminal statute, albeit one that could not carry with it a potential sentence of

death.

          Here, deciding what Congress intended in the FDPA is an easy task it is obvious

from the FDPA that Congress, relying on Walton, believed it was creating sentencing

factors. It is equally clear that after Ring, aggravating factors constitute elements of an

offense. Accordingly, the statute may not be severed; it must be voided.

             4. The doctrine of constitutional avoidance is inapplicable.

          The doctrine of constitutional avoidance provides that when “a statute is

susceptible of two constructions, by one of which grave and doubtful constitutional

questions arise and by the other of which such questions are avoided, [a court’s] duty is

to adopt the latter.” United States ex rel. Attorney General, v. Delaware & Hudson Co.,

213 U.S. 366, 408 (1909). Here, because the FDPA is, for the reasons set forth supra,

plainly not “susceptible of two constructions [,]” the simple answer is that the doctrine of

constitutional avoidance does not apply.

          In Harris, for example, the Court found the doctrine of constitutional avoidance

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inapplicable because, at the time Congress enacted 18 U.S.C. § 924(c), Supreme Court

precedent allowed Congress to label as sentencing factors certain facts which increased the

minimum punishment for a crime. As the Court explained:

            The avoidance canon rests upon our “respect for Congress, which
            we assume legislates in the light of constitutional limitations.”
            Rust v. Sullivan, 500 U.S. 173, 191 (1991). The statute at issue in
            this case was passed when McMillan [v. Pennsylvania, 477 U.S.
            79 (1986)] provided the controlling instruction, and Congress
            would have had no reason to believe that it was approaching the
            constitutional line by following that instruction. We would not
            further the canon’s goal of eliminating friction with our
            coordinate branch, moreover, if we alleviated our doubt about a
            constitutional premise we had supplied by adopting a strained
            reading of a statute that Congress had enacted in reliance on the
            premise. And if we stretched the text to avoid the question of
            McMillan’s continuing vitality, the canon would embrace a
            dynamic view of statutory interpretation, under which the text
            might mean one thing when enacted yet another if the prevailing
            view of the Constitution later changed. We decline to adopt that
            approach.

Harris, 536 U.S. at 556.

       Thus, the doctrine of constitutional avoidance was irrelevant to the Court’s

analysis, and the Court in Harris, in accord with Congress’ intent, concluded that

“brandishing” was a sentencing factor. See id. Here, too, Congress relied on the state of

the law existing at the time it enacted the FDPA – in Walton, 497 U.S. at 649, the Court

had permitted a judge to decide sentencing factors in capital cases – and manifested that

reliance in reserving for the prosecutor the exclusive authority to allege aggravating

factors. Reconstructing the FDPA based on Ring’s precedence over Walton would

constitute the type of “dynamic” statutory interpretation that was precluded by Harris and

would vitiate Congress’ clear intent.

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       Consequently, the doctrine of constitutional avoidance is as inapplicable here as it

was in Harris. As with 18 U.S.C. § 924(c), with the FDPA, there is no ambiguity about

Congress’ choice. As stated in Miller v. French, 530 U.S. 327 (2000), “Where Congress

has made its intent clear, we must give effect to that intent.” Id. at 341 (quotations

omitted). Similarly, in Commodity Futures Trading Com’n v. Schor, 478 U.S. 833 (1986),

the Court held:

            Federal statutes are to be so construed as to avoid serious doubt
            of their constitutionality. Where such serious doubts arise, a court
            should determine whether a construction of the statute is fairly
            possible by which the constitutional question can be avoided. It
            is equally true, however, that this canon of construction does
            not give a court the prerogative to ignore the legislative will in
            order to avoid constitutional adjudication; although this
            Court will often strain to construe legislation so as to save it
            against constitutional attack, it must not and will not carry
            this to the point of perverting the purpose of a statute . . . or
            judicially rewriting it.

478 U.S. at 841 (citations and internal quotations omitted) (emphasis added).

       Here, Congress made its intent clear in the FDPA: the allegation of aggravating

factors is the province solely of government attorneys. The Jones-Apprendi-Ring trilogy

has now altered the status of the law, and aggravating factors (and other aspects of the

FDPA) are now properly, and constitutionally, elements of an offense not yet enacted by

Congress and beyond the authority of the courts (or the prosecutor) to create via

“construction” that amounts to judicial and executive legislation. Accordingly, the FDPA

cannot be rewritten to permit presentation of aggravating factors to the grand jury, and

because those aggravating factors are elements pursuant to Ring, the FDPA is

unconstitutional as applied to Mr. Bowers.

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III.   Even if the FDPA can be rendered constitutional by a finding by the grand jury
       of gateway and statutory aggravating factors, the Special Findings in the
       indictment should be stricken and the death notice should be dismissed because
       the government has not obtained an indictment consistent with the Fifth
       Amendment.

       In this case, the superseding indictment contains “Special Findings.” (ECF No. 44

at 12-13.) Nowhere, however, does the indictment state that the “Special Findings” would

subject Mr. Bowers to the death penalty or otherwise reveal that the grand jury intended

to return an indictment charging a capital offense. The superseding indictment does not

allege any non-statutory aggravating factors. Nor does the superseding indictment allege

that the aggravating factors present in this case outweigh the mitigating factors and

outweigh them to an extent that is sufficient to justify imposition of a sentence of death.

Under these circumstances, the indictment does not comport with the Grand Jury Clause

of the Fifth Amendment and does not charge a capital offense.


   A. The grand jury was not given the choice of holding Mr. Bowers to answer for
      a capital crime because it was (presumably) unaware of the consequences of
      its “Special Findings.”15

       The Fifth Amendment provides that “no person shall be held to answer for a

capital, or otherwise infamous crime, unless on a presentment or indictment of a Grand

Jury.” U.S. Const. Amend. V. As the Supreme Court has explained:

            [T]he grand jury is a central component of the criminal justice
            process. The Fifth Amendment requires the Federal Government
            to use a grand jury to initiate a prosecution.... The grand jury, like
            the petit jury, ‘acts as a vital check against the wrongful exercise

       15
        This argument is based in part on a law review article on this topic, K. Bren and
Tomer, “Ring around the Grand Jury: Informing Grand Jurors of the Capital
Consequences of Aggravating Factors,” 17 CAP. DEF. J. 61 (2004).

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            of power by the State and its prosecutors.’ It controls not only the
            initial decision to indict, but also significant decisions such as
            how many counts to charge and whether to charge a greater or
            lesser offense, including the important decision to charge a capital
            crime.

Campbell v. Louisiana, 523 U.S. 392, 398-99 (1998) (citations omitted); see Vasquez v.

Hillary, 474 U.S. 254, 263 (1986) (power to charge capital or noncapital offense lies in

the hands of the grand jury); Fed. R. Crim. P. 7(a).

       When Congress adopted the Bill of Rights, only the indicting grand jury, by

choosing the offense to charge, could make an offense punishable by death. In 1789,

Congress sought to ratify the Fifth Amendment and also passed the first federal criminal

laws. Laws that authorized the death penalty mandated it; they left no other sentencing

option. See generally, Rory Little, “The Federal Death Penalty: History and Some

Thoughts About the Department of Justice’s Role,” 26 Fordham Urban L. J. at 361-63

(Mar. 1999).16 This practice was consistent with that of the states, which at the time the

Bill of Rights was adopted in 1791 “followed the common-law practice of making death

the exclusive and mandatory sentence for certain specified offenses.” Woodson v. North

Carolina, 428 U.S. at 289. Thus, the intent of the framers of the Fifth Amendment was

that the grand jury retain the power to choose which defendants would receive a sentence

of death upon conviction.

       The grand jury’s historical role in choosing which defendants would receive a

death sentence upon conviction is well documented. See LaFave, W.R., et al., 1 Criminal


       16
         An example of one such law provided that “such person or persons on being
thereof convicted [of willful murder] shall suffer death.” An Act for the Punishment of
Certain Crimes against the United States, ch. 9, § 3, 1 Stat. 112, 113 (1790).
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Procedure 1.5(b) (2d Ed.) (noting that grand juries played a critical role in reducing the

number of offenses for which capital punishment could be imposed by downgrading

charges to non-capital offenses); Andrew Hirsch, The Rise of the Penitentiary (1992)

(“At the indictment stage, grand juries often refused to charge persons with capital

crimes. They simply downgraded indictments to noncapital charges of their own devising

. . .”). The Supreme Court has acknowledged this historical role, writing in Vasquez, 474

U.S. at 263, that “the Grand Jury does not determine only that probable cause exists to

believe that a defendant committed a crime, or that it does not. In the hands of a grand

jury lies the power to charge a greater or lesser offense; numerous counts or a single

count; and perhaps the most significant of all, a capital offense or a noncapital offense.”

       In this case, the government presented to the grand jury some of the elements of

capital murder so as to make Mr. Bowers “death-eligible” for Eighth Amendment

purposes – the intent requirements under 18 U.S.C. § 3591(a)(2) and the alleged statutory

aggravating factors under 18 U.S.C. § 3592(c). On information and belief, however, the

government did not inform the grand jury of the consequences of those Special Findings,

i.e., that by returning the superseding indictment, Mr. Bowers would be held to answer to

an offense punishable by death. Certainly nothing on the face of the superseding

indictment shows that the grand jury was aware that it was being asked to determine if

Mr. Bowers should be held to answer for a capital offense.17


       17
         The model grand jury charge of the Administrative Office of the United States
Courts indicates that the jury would not have been told that Mr. Bowers would face the
death penalty upon conviction. That charge expressly instructs the jury: “When deciding
whether or not to indict, you should not be concerned about punishment in the event of
conviction. Judges alone determine punishment.” See Brendan Tomer, “Ring Around the
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       The Supreme Court, in a related context, has refused to countenance such

disregard for the Fifth Amendment. In Smith v. United States, 360 U.S. 1, 9 (1959), the

Court reversed a kidnapping conviction initiated by information even though it was a

capital offense. The Court stated:

              The Fifth Amendment made the [grand jury indictment] rule
              mandatory in federal prosecutions in recognition of the fact that
              the intervention of a grand jury was a substantial safeguard
              against oppressive and arbitrary proceedings. . .. [T]o permit the
              use of informations where . . . the charge states a capital offense,
              would . . . make vulnerable to summary treatment those accused
              of . . . our most serious crimes.

Id. (citations omitted). Similarly, to permit the government to obtain from a grand jury an

indictment alleging the elements of a capital offense without requiring the government to

inform the grand jury that by finding those elements it holds the defendant to answer to a

capital crime, makes vulnerable those accused of the most serious crimes. If the grand

jury is not informed of the capital nature of the offense, it cannot express the conscience

of the community or perform its constitutionally assigned role as a “barrier . . . between

the liberties of the people and the prerogative of the [government]).” Harris v. United

States, 536 U.S. 545, 564 (2002) (grand and petit juries “form a ‘strong and two-fold

barrier’”).

       The grand jury’s constitutional and historical role in deciding whether a defendant

should face the death penalty is perhaps more critical now than ever. Few checks exist on

the federal government’s power to pursue the ultimate punishment against one of its



Grand Jury, 17 CPA. DEF. J. at 61. Presumably, the grand jury that returned the
superseding indictment in this case was given this instruction.

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citizens and fewer opportunities exist for the local community to express its desires about

the appropriateness of the death penalty in any given case. Prosecutorial decision-making

in capital cases is centralized at the Department of Justice in Washington, D.C. See

United States v. Navarro-Vargas, 367 F.3d 896, 902 (9th Cir. 2004) (Kozinski, J.,

dissenting) (“An independent grand jury – one that interposes the local community’s

values on prosecutorial decisions that are controlled by policies set in Washington as to

the enforcement of laws passed in Washington – seems like an important safeguard that is

entirely consistent with the grand jury’s traditional function”), rehearing en banc, 408

F.3d 1184 (9th Cir. 2005).

       Nor is the petit jury in a capital case a meaningful barrier between “the liberties of

the people and the prerogative of the [government].” Harris, 536 U.S. at 564. This is

because petit jurors, to-date, have been “death-qualified.” Individuals with disqualifying

scruples against the death penalty, no matter how many exist in a given community, have

not been permitted to sit in judgment in a capital case. Instead, capital juries consist

exclusively of individuals who believe that the death penalty is an appropriate

punishment and who express a willingness to impose it. Empirical evidence shows that

such “death-qualified” jurors are more prone to believe government witnesses, generally

evaluate evidence differently than other jurors, and give little meaning to the presumption

of innocence. In other words, death-qualified jurors are more conviction-prone than the

average group of community members from which they are drawn.18 The death-


       18
         See Jesse Nason, “Mandatory Voir Dire Questions in Capital Cases: A Potential
 Solution to the Biases of Death Qualification,” 10 ROGER WILLIAMS U. L. REV. 211,
 219 (2004) (summarizing research on how death-qualified jurors may presume guilt,
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qualifying process also tends to exclude women and African Americans from jury

service. Id. The net effect of death qualification is that capital jurors do not represent the

conscience of the local community or its rich diversity; at best, they represent only those

members of the community who share similar views on the death penalty. Jurors who

represent such a small segment of the community are ill-equipped to act as a barrier

between the “liberties of the people” and the power of a government, particularly a

government so centralized that it can force local prosecutors to take a capital case to trial

against their will.

       The Constitution and the Bill of Rights set up a carefully crafted system of checks

and balances. Under the Fifth Amendment, the grand jury, like the petit jury, is supposed

to “act[] as a vital check against the wrongful exercise of power by the State and its

prosecutors.” Campbell v. Louisiana, 523 U.S. at 398 (citations omitted). Unless the

grand jury is aware of its capital charging power and the consequences of returning an

indictment with “Special Findings” like those in this case, it cannot perform its

constitutionally assigned function and make “the important decision to charge a capital

crime.” Id. Because the grand jury presumably was not permitted to perform its

constitutionally assigned role of deciding whether Mr. Bowers should be held to answer



 resolve ambiguities against the defendant, more readily accept the government’s version
 of events, distrust defense witnesses, fill evidentiary gaps with their beliefs that
 defendant committed the crime; and were more likely to infer premeditation). See also
 United States v. Fell, 224 F.Supp.3d 327, 332-38 (D. VT. 2016) (discussing social
 science demonstrating conviction bias created by death qualification voir dire); United
 States v. Green, 324 F. Supp. 2d 311, 329 (D. Mass. 2004) (citing studies that note death-
 qualified juries are more conviction-prone).

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for a capital crime, the “Special Findings” in the superseding indictment should be

stricken.


   B. The government did not obtain an indictment alleging all elements of a
      capital crime.

       Even if the grand jury had been aware that its “Special Findings” would hold Mr.

Bowers to answer for a capital crime, the death notice should be dismissed because the

government did not present further elements necessary for the grand jury to make the

decision as to whether Mr. Bowers should be subject to the death penalty. That is, the

grand jury did not determine whether (1) the aggravating factors outweigh the mitigating

factors; and, (2), whether they outweighed the mitigating factors sufficiently to justify a

sentence of death. Moreover, as argued earlier, the process followed violated Mr.

Bowers’ Fifth and Sixth Amendment rights to have all elements of the crime submitted to

the grand jury for its consideration. See Jones v. United States, 526 U.S. at 251-52.

       As noted above, the elements of capital murder include decisions reached by the

jury right up to the point where it makes a fact-finding that the aggravating circumstances

outweigh the mitigating circumstances to a sufficient degree that a sentence of death is

justified. 18 U.S.C. § 3593(e). A simple “outweighing” is not enough. As a matter of

human experience, one can imagine a conscientious juror reaching the conclusion that,

although the aggravating circumstances do barely tip the balance in favor of death, the

degree to which that balance tips is not sufficient to justify imposition of a death

sentence. It is not until the moment that finding is made that the defendant’s potential

punishment increases to death.

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       Obviously, there are significant practical difficulties in devising a system where a

grand jury can consider and weigh both aggravating and mitigating factors. It is not the

role of courts and prosecutors to “fix” a statute that no longer reflects what Congress

intended. The grand jury’s failure to indict on all elements of capital murder – even

assuming the viability of a “Ring fix” – means the Notice of Intent must be dismissed.


   C. The non-statutory aggravating factors alleged in the death notice must be
      dismissed because they are not supported by the indictment.

       Several published district opinions explain why Blakely and Booker require non-

statutory aggravators to be pled in the indictment. In United States v. Green, 372 F. Supp.

2d 168 (D. Mass. 2005), Judge Gertner examined the issue of whether a non-statutory

aggravating factor of unadjudicated criminal activity alleged in a death notice should be

stricken under the Fifth Amendment because the factor had not been previously found by

the grand jury. Holding that the factor must be stricken, she relied primarily on Blakely’s

mandate that “every defendant [has] the right to insist that the prosecutor prove to a jury

all facts legally essential to the punishment.” Id. at 176 (quoting Blakely, 124 S. Ct. at

2543) (emphasis added). She reasoned that “any aggravating factor is ‘legally essential to

punishment’ because, while not linearly triggering a higher sentence within the statutory

maximum, as Federal Sentencing Guidelines factors do, it may effectively tip the scale

from life to death in combination with the other factors at play.” 372 F. Supp. 2d at 177-

178. Judge Gertner continued:

            The FDPA makes the death penalty jury a sentencing jury, not
            only conducting fact-finding, as any jury does, but also weighing
            aggravating and mitigating facts for the purpose of determining
            punishment, as judges typically do. The penalty jury’s unique role
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              muddies the distinction between offense facts, traditionally
              screened by grand juries, and sentencing facts, which traditionally
              went unscreened.

              The trilogy of Apprendi, Ring, and Blakely further conflates the
              line between sentencing facts and offense facts. Blakely explicitly
              rejected methodical distinctions between formal offense elements
              and sentencing factors, holding that all facts “essential” to
              punishment must be treated to the formalities of grand jury
              presentment and a jury trial. The Supreme Court specifically
              deemed it an “absurd result” that “the jury need only find
              whatever facts the legislature chooses to label elements of the
              crime, and that those it labels sentencing factors – no matter how
              much they may increase the punishment – may be found by the
              judge.” Blakely, 124 S.Ct. at 2539. Even the government agrees
              that certain “sentencing facts”– here the listed statutory
              aggravating factor – must be screened by a grand jury.

              Moreover, once a defendant is deemed death-eligible, the FDPA
              requires that the penalty jury impose the death penalty only if the
              aggravating factors “sufficiently outweigh” the mitigating factor
              or factors. 18 U.S.C. § 3593(e). This burden is not optional. Even
              if the defendant presents no mitigating factors, to return a
              sentence of death after the first two death-eligibility burdens have
              been met, the jury must find that the aggravating factors “alone
              are sufficient to justify a sentence of death.” Id. Because we will
              never know exactly how each factor influences the jurors’
              ultimate punishment determination, logic dictates that all
              aggravating factors – together – be considered legally essential to
              the punishment. Indeed, the government’s argument that non-
              statutory factors are not essential is disingenuous; if the
              government does not require additional evidence to convince the
              jury to vote for death, why is it invoking non-statutory factors at
              all?

Id. at 177.

       Judge Gertner limited her holding to unadjudicated criminal activity, finding based

on Supreme Court precedent that unadjudicated criminal activity, in particular, required

the procedural protection of grand jury screening. Id. at 180-182. However, the Court’s

logic is obviously applicable to all non-statutory aggravating factors, as is made clear in
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United States v. Mills, 446 F.Supp.2d 1115 (C.D. Ca. 2006).

       In Mills, Judge Carter considered whether the Confrontation Clause was

applicable to evidence offered to prove non-statutory aggravating factors. He concluded

that the Confrontation Clause was applicable based on his analysis that non-statutory

aggravating factors were elements under Apprendi, Ring, and Blakely. He began by

noting that “[w]hile the Court finds the reasoning in Green [, 372 F. Supp. 2d.,]

persuasive, Green fails to consider Booker’s lesson that there are some facts – those

which are not binding on the court – that do not rise to the level of constitutional

significance. From the Court’s perspective, Booker and Blakely appear to present three

potential applications to the issue of confrontation during the selection portion of the

penalty phase: (1) pure fact-finding; (2) pure sentencing discretion; and (3)

constitutionally significant fact- finding.” Id. at 1133.

       Judge Carter acknowledged that if, as Green held, Booker and Blakely applied to

pure fact-finding, then the implication was that non-statutory aggravating factors, as well

as the ultimate weighing decision on penalty, were elements under the Ring line of cases,

as argued above:

             In Blakely, the Court relied on Apprendi in striking down
             Washington’s sentencing guideline scheme that permitted the
             judge to impose a sentence higher than the standard range if he
             found certain aggravating factors justifying a departure. 542 U.S.
             at 299, 304-05,124 S.Ct. 2531. The Court held: Our precedents
             make clear . . . that the “statutory maximum” for Apprendi
             purposes is the maximum sentence a judge may impose solely on
             the basis of the facts reflected in the jury verdict or admitted by
             the defendant. . ..” In other words, the relevant “statutory
             maximum” is not the maximum sentence a judge may impose
             after finding additional facts, but the maximum he may impose
             without any additional findings. When a judge inflicts punishment
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             that the jury’s verdict alone does not allow, the jury has not found
             all the facts “which the law makes essential to the punishment,” .
             . . and the judge exceeds his proper authority. Id. at 303-04, 124
             S.Ct. 531 (internal citations omitted) . . ..

             As to pure fact finding, one could take Blakely literally, to mean
             that the judge may impose the death penalty “solely on the basis
             of the facts reflected in the jury verdict or admitted by the
             defendant.” Blakely, 542 U.S. at 303, 124 S.Ct. 2531; see 18
             U.S.C. § 3594 (requiring court to impose sentence on
             recommendation of jury). Thus, the Sixth Amendment’s
             protections would no longer stop once the jury has found a
             statutory aggravating factor and a statutory intent factor. Even if
             these facts have been found, the judge still cannot impose a death
             sentence under the FDPA until the jury has found that “all the
             aggravating factor or factors found to exist sufficiently outweigh
             all the mitigating factor or factors found to exist to justify a
             sentence of death, or, in the absence of a mitigating factor,
             whether the aggravating factor or factors alone are sufficient to
             justify a sentence of death.” See 18 U.S.C. §§ 3593(e), 3594.
             Thus, if steps three through six are fact finding, placement of the
             weighing after the jury has already engaged in the eligibility
             determination is not dispositive.

 Id. at 1131-33.

       Instead of reaching this issue, Judge Carter focused on non-statutory aggravating

factors, which he reasoned were elements because they involved “constitutionally

significant fact finding:”

             Under the Act, the jury is required to find these facts unanimously
             and beyond a reasonable doubt. 18 U.S.C. § 3593(c). The jury
             may consider only the factors upon which it has rendered such a
             finding when it weighs the factors in aggravation and mitigation.
             18 U.S.C. § 3593(d). Further, a jury renders these findings after a
             contested adversarial hearing that bears many of the features of a
             trial. See 18 U.S.C. § 3593(b)-(e). The Court finds that these
             features of the Act render steps three and four significantly
             different than the judicially found facts that inform a court’s
             calculation of the now non-binding Guidelines. In essence, the
             FDPA completely limits the jury’s discretion until it has rendered
             its findings on the aggravating factors (whether statutory or non-
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            statutory). Only upon finding these facts is the jury permitted to
            move on to the more discretionary task of finding the mitigating
            factors, and the broadly discretionary task of weighing
            aggravation against mitigation. 18 U.S.C. § 3593(c)-(e). Because
            of these fundamental structural differences, findings on the
            aggravating factors bear many of the hallmarks of constitutionally
            significant facts falling under the ambit of Blakely.

            It is possible that the jury could return a verdict of death without
            finding any additional aggravating facts, provided the proven
            aggravator alone is sufficient to outweigh whatever mitigation has
            been found. See 18 U.S.C. § 3593(e). However, given the
            allocation of fact finding and discretionary tasks under the FDPA,
            the Court finds that this possibility alone is not sufficient to render
            these facts constitutionally insignificant for the purposes of
            confrontation.

 Id. at 1134-35.19

      The reasoning of Green and Mills is persuasive and should be followed here.

Although Green only addressed one particular class of non-statutory aggravating factors,

and Mills addressed the Sixth Amendment Confrontation Clause, Green correctly points

out that “[t]he FDPA already complies with Ring’s holding in the sense that it requires a

jury to find both statutory and non-statutory aggravating factors. Although Ring does not

address the Fifth Amendment, other Supreme Court and circuit court opinions have

paired Fifth and Sixth Amendment protections. And, as Ring and some state courts

following it have suggested, these procedural protections apply to more than one

aggravating factor when the government presents multiple aggravating factors.” Green,



  In a footnote, the court noted that “[s]everal state supreme courts have determined that
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 ‘weighing’ is a factual determination.” (citing State v. Whitfield, 107 S.W.3d 253, 261
 (Mo.2003); Woldt v. People, 64 P.3d 256, 265-66 (Colo.2003); Johnson v. State, 118
 Nev. 787, 802-03, 59 P.3d 450 (2002)).

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372 F. Supp. 2d at 179; see United States v. Barrett, 496 F. 3d 1079, 1107 (10th Cir.

2007) (“The Court’s Apprendi line of cases reveals that the reasonable doubt standard is

appurtenant to the right to jury trial.”)

       In this case, as indicated above, the death notice alleges several non-statutory

aggravating factors. None of them is alleged in the indictment. Because Mr. Bowers was

entitled under the Fifth Amendment Indictment Clause to grand jury screening of these

factors, the non- statutory aggravating factors alleged in the death notice must be

stricken. Id.

                                            CONCLUSION

       For the reasons set forth above, the court should find the FDPA unconstitutional

under Ring and dismiss the Special Findings in the superseding indictment and the Notice

of Intent to seek the death penalty.


Date: December 23, 2019                     Respectfully submitted,

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